         Case 1:18-cr-00472-KPF Document 85 Filed 04/08/20 Page 1 of 10



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

    UNITED STATES OF AMERICA
                                                               18 Cr. 472-3 (KPF)
                       -v.-
                                                                      ORDER
    MICHAEL VILLANUEVA,

                               Defendant.

KATHERINE POLK FAILLA, District Judge:

        On February 4, 2020, Defendant Michael Villanueva was sentenced by

this Court principally to concurrent terms of time served plus three months’

imprisonment. Villanueva is serving the remainder of his sentence at the

Metropolitan Correctional Center (the “MCC”) in Manhattan; his scheduled

release date is May 4, 2020. Villanueva has moved for immediate release

and/or release to home confinement pursuant to 18 U.S.C. § 3582(c)(1)(A)(i),

citing the risks to his health occasioned by his continued incarceration at the

MCC during the current COVID-19 pandemic. As set forth in the remainder of

this Order, the Court grants his motion and orders that the remainder of his

sentence be reduced to time served, and that he be released to begin his period

of supervised release.

                                       BACKGROUND 1

        Michael Villanueva was initially indicted on narcotics charges in this

District in July 2018. (Dkt. #3). At the time of his arrest, he was a detainee at


1       For ease of reference, Villanueva’s letter motion for compassionate release is referred to
        as “Def. Br.” (Dkt. #81); the Government’s responsive letter brief of April 6, 2020 as
        “Gov’t Br.” (Dkt. #84); and Villanueva’s Revised Final Presentence Investigation Report
        as “PSR” (Dkt. #74).
       Case 1:18-cr-00472-KPF Document 85 Filed 04/08/20 Page 2 of 10



the Westchester County Jail. (PSR p.2). In November 2018, Villanueva

pleaded guilty before this Court to a three-count superseding information

charging him with narcotics and firearms offenses. (Dkt. #70). In January

2019, he was released on bail, although he was remanded four months later.

(PSR p.2).

      Villanueva was sentenced by this Court on February 5, 2020, principally

to concurrent terms of time served plus three months’ imprisonment, followed

by concurrent terms of three years’ supervised release. (Dkt. #72).

Presumably because of the short period of time remaining on his prison term,

the Bureau of Prisons (the “BOP”) allowed Villanueva to remain at the MCC for

the remainder of his sentence.

      On March 31, 2020, counsel for Villanueva filed a motion for

compassionate release on his behalf. (Dkt. #81). In it, counsel requested that

the Court (i) modify Villanueva’s sentence to time served or (ii) immediately

release him to home confinement for the remainder of his term of

imprisonment to be followed by the previously-imposed term of supervised

release. Among other things, defense counsel observed that the COVID-19

virus “thrives in densely packed populations, and the MCC is ill-equipped to




      To the extent that the Court has dispensed with a lengthy discussion of Villanueva’s
      underlying criminal conduct or his prosecution in this District, or with a lengthy
      analysis of certain of the legal issues in this case, that brevity should not be
      misinterpreted as a lack of engagement with these matters. Rather, the Court wishes to
      expedite resolution of this, an uncontested motion for Villanueva’s early release, and
      therefore presents only what is necessary to its decision. Relatedly, the Court pauses to
      note its debt to judicial colleagues in this District who have spent much time analyzing
      the relevant legal issues, and whose analyses aid the Court’s own.

                                              2
       Case 1:18-cr-00472-KPF Document 85 Filed 04/08/20 Page 3 of 10



contain the pandemic and prevent COVID-19 from becoming a de facto health

threat for Mr. Villanueva.” (Id. at 1; see also id. at 6 (“The MCC has disclosed

that as of March 25, 2020, nearly one-third of its current population is high-

risk within the CDC’s definition (205 inmates), creating a powerful likelihood

that the coronavirus will spread throughout the facility, and particularly

endanger the at-risk inmates, many of whom were already exposed to the virus

by an inmate who tested positive and was housed on an open dorm unit with

many of the at-risk inmates.”)). In letter briefs dated April 2 and 6, 2020 (Dkt.

#82, 84), the Government expressed its non-opposition to Villanueva’s motion

and echoed many of defense counsel’s arguments:

            First, Villanueva has served the vast majority of his
            sentence, and only has approximately 30 days left to
            serve. Second, although Villanueva pled guilty to
            serious crimes, his crimes were not violent in nature,
            and he does not appear to pose a risk of violence to the
            community. Third, given that Villanueva’s expected
            release date is May 4, 2020, if Villanueva is required to
            wait 30 days before seeking relief from the Court, he
            would be eligible for relief just days before his release
            date — in other words, requiring exhaustion in this
            particular case would effectively nullify the ability to
            obtain the relief sought. Fourth, as noted in the PSR,
            Villanueva has a history of asthma (PSR ¶ 86), and is
            therefore at higher risk for severe illness resulting from
            COVID-19, according to guidance provided by the
            Centers for Disease Control and Prevention.

(Dkt. #84 at 3-4 (footnote omitted)).

                                  DISCUSSION

      “A court may not modify a term of imprisonment once it has been

imposed except pursuant to statute.” United States v. Gotti, No. 02 Cr. 743

(CM), 2020 WL 497987, at *1 (S.D.N.Y. Jan. 15, 2020); accord United States v.
                                        3
        Case 1:18-cr-00472-KPF Document 85 Filed 04/08/20 Page 4 of 10



Monzon, No. 99 Cr. 157 (DLC), 2020 WL 550220, at *1 (S.D.N.Y. Feb. 4, 2020).

One such statutory provision, known as the compassionate release provision,

specifies in relevant part:

             c) The court may not modify a term of imprisonment
             once it has been imposed except that —

             (1) in any case —

             (A) the court, upon motion of the Director of the Bureau
             of Prisons, or upon motion of the defendant after the
             defendant has fully exhausted all administrative rights
             to appeal a failure of the Bureau of Prisons to bring a
             motion on the defendant’s behalf or the lapse of 30 days
             from the receipt of such a request by the warden of the
             defendant’s facility, whichever is earlier, may reduce the
             term of imprisonment (and may impose a term of
             probation or supervised release with or without
             conditions that does not exceed the unserved portion of
             the original term of imprisonment), after considering the
             factors set forth in section 3553(a) to the extent that
             they are applicable, if it finds that —

             (i) extraordinary and compelling reasons warrant such
             a reduction ….

18 U.S.C. § 3582(c)(1)(A)(i).

      Of potential note, the compassionate release provision was amended by

the First Step Act of 2018 to permit defendants, and not merely the BOP, to

make such motions under certain circumstances. See First Step Act of 2018,

Pub. L. 115-391, § 603, 132 Stat. 5194, 5239 (2018). As courts in this District

have observed, the amended provision reflects a balance struck between

“competing congressional objectives.” United States v. Russo, No. 16 Cr. 441

(LJL), Dkt. #54 at 4 (S.D.N.Y. Apr. 3, 2020). On the one hand, the statute

includes an exhaustion requirement in recognition of the fact that the “BOP is


                                         4
        Case 1:18-cr-00472-KPF Document 85 Filed 04/08/20 Page 5 of 10



frequently in the best position to assess, at least in the first instance, a

defendant’s conditions, the risk presented to the public by his release, and the

adequacy of a release plan.” Id. On the other hand, the statute itself provides

an exception to this exhaustion requirement, permitting a defendant to seek

judicial review — even if he has not yet fully exhausted his administrative

rights — where 30 days have elapsed from the warden’s receipt of the

defendant’s request. This built-in exception to the statutory exhaustion

requirement “unquestionably reflects congressional intent for the defendant to

have the right to a meaningful and prompt judicial determination of whether he

should be released.” Id.

      The instant motion is one of many filed by sentenced defendants in

federal custody who are understandably worried about (and at particular

medical risk for) contracting COVID-19. These motions seek immediate relief,

recognizing the speed with which the virus spreads, the impracticability of

social distancing in federal prison, and the marked deficiencies in hygiene and

medical care in prison. This case is, in the Court’s experience, one of

comparatively few in which the Government does not oppose the motion. And

while it would be easy for the Court to co-sign what is effectively a joint request

of the parties, it must first address an issue common to nearly all of these

motions — namely, whether the Court has the ability to overlook a defendant’s

failure to exhaust administrative remedies. (See Def. Br. 3-4 (arguing that the

Court has the power to waive the exhaustion requirement)).




                                         5
       Case 1:18-cr-00472-KPF Document 85 Filed 04/08/20 Page 6 of 10



      The Court recognizes that thoughtful judges in this District have come to

different conclusions on the point. Compare, e.g., United States v. Woodson,

No. 18 Cr. 845 (PKC), 2020 WL 1673253, at *4 (S.D.N.Y. Apr. 6, 2020)

(concluding that courts may not excuse or overlook the exhaustion

requirement: “The Court expresses the hope that the BOP will state its position

in a reasoned determination of Woodson’s application. If the BOP anticipates

that it will be unable to address the merits of Woodson’s application, it should

deny his application now and thereby open his pathway to seek judicial relief.

For the agency to make the advance decision to allow the 30-day window to

run out, but not to act to deny the application would be irresponsible.”)

(collecting cases), with United States v. Perez, No. 17 Cr. 513 (AT), 2020 WL

1546422, at *3 (S.D.N.Y. Apr. 1, 2020) (concluding that exhaustion

requirement can be excused: “The Court concludes that requiring [the

defendant] to exhaust administrative remedies, given his unique circumstances

and the exigency of a rapidly advancing pandemic, would result in undue

prejudice and render exhaustion of the full BOP administrative process both

futile and inadequate.”). It has spent much time considering the arguments,

and the judicial decisions, on both sides. For the reasons set forth in the

following paragraph, this Court need not finally decide the issue in this case.

However, after considering the arguments it has received to date, the Court is

inclined to align itself with the Woodson court, and with its many colleagues

who have concluded that courts lack the authority to waive the administrative

exhaustion requirement stated in § 3582(c)(1)(A). See also, e.g., United States


                                        6
        Case 1:18-cr-00472-KPF Document 85 Filed 04/08/20 Page 7 of 10



v. Gross, No. 15 Cr. 769 (AJN), 2020 WL 1673244, at *2 (S.D.N.Y. Apr. 6, 2020)

(“However, the Court is skeptical that the First Step Act admits of such

exception to its statutory exhaustion requirement.”); United States v. Lowry,

No. 18 Cr. 882 (LTS), 2020 WL 1674060, at *2 (S.D.N.Y. Apr. 6, 2020) (“Thus,

while he clearly is eligible for, and has been approved for, release under the

BOP’s administrative policy, he is not facially eligible for compassionate release

under the statutory provision.”); United States v. Weiland, No. 18 Cr. 273

(LGS), 2020 WL 1674137, at *1 (S.D.N.Y. Apr. 6, 2020) (“WHEREAS Defendant

is incorrect that the Court has authority to waive the administrative exhaustion

requirements stated in § 3582….”).

      As noted, the failure to exhaust in this case is not fatal to Villanueva’s

motion. The Government argues, and the Court agrees, that § 3582(c)(1)(A)’s

exhaustion requirement is not jurisdictional, but rather is a claims-processing

rule that the Government can waive by failing to raise an exhaustion argument.

(See Gov’t Br. 2-3 (collecting cases)). See generally Coleman v. Newburgh

Enlarged City Sch. Dist., 503 F.3d 198, 203 (2d Cir. 2007) (“Recently, however,

the Supreme Court has admonished lower courts to more carefully distinguish

between jurisdictional rules and mandatory claims-processing rules, the latter

being subject to waiver and forfeiture[.]” (internal citations and quotations

omitted)); cf. Eberhart v. United States, 546 U.S. 12, 16 (2005) (per curiam)

(“‘Clarity would be facilitated’ ... ‘if courts and litigants used the label

“jurisdictional” not for claim-processing rules, but only for prescriptions

delineating the classes of cases (subject-matter jurisdiction) and the persons

                                           7
        Case 1:18-cr-00472-KPF Document 85 Filed 04/08/20 Page 8 of 10



(personal jurisdiction) falling within a court’s adjudicatory authority.’”). To its

credit, the Government has determined to waive the exhaustion requirement in

this case. (Gov’t Br. 3). The Court therefore need not decide whether it also

has the power to excuse non-compliance, and under what circumstances it has

that power, and instead proceeds to consider the merits of Villanueva’s request.

      In a recent opinion, this Court framed the analysis for determining

whether “extraordinary and compelling reasons warrant such a reduction ...

and that such a reduction is consistent with applicable policy statements

issued by the Sentencing Commission.” 18 U.S.C. § 3582(c)(1)(A)(i). In

particular, in United States v. Lisi, the Court observed:

             The relevant policy statement is found in U.S.S.G.
             § 1B1.13, which states in pertinent part that

             [T]he court may reduce the term of imprisonment if ...
             the court determines that [e]xtraordinary and
             compelling reasons warrant the reduction; ... [t]he
             defendant is not a danger to the safety of any other
             person or to the community, as provided in 18 U.S.C.
             § 3142(g); and [t]he reduction is consistent with this
             policy statement.

             U.S.S.G. § 1B1.13(1)(A), (2), and (3). Additionally, the
             court must “consider[ ] the factors set forth in section
             3553(a) to the extent that they are applicable.” 18
             U.S.C. § 3582(c)(1)(A). “The defendant has the burden
             to show he is entitled to a sentence reduction.” United
             States v. Ebbers, No. 02 Cr. 1144-3 (VEC), 2020 WL
             91399, at *4 (S.D.N.Y. Jan. 8, 2020) (citing United
             States v. Butler, 970 F.2d 1017, 1026 (2d Cir. 1992)).

United States v. Lisi, No. 15 Cr. 457 (KPF), 2020 WL 881994, at *3 (S.D.N.Y.

Feb. 24, 2020), reconsideration denied, No. 15 Cr. 457 (KPF), 2020 WL

1331955 (S.D.N.Y. Mar. 23, 2020). Both prongs are satisfied in this case.


                                         8
        Case 1:18-cr-00472-KPF Document 85 Filed 04/08/20 Page 9 of 10



      The present circumstances are unprecedented, as a sister court in this

District has recognized in a case involving health issues identical to those faced

by Villanueva:

            It is readily apparent — and the Court here finds — that
            the circumstances presented here are extraordinary
            and compelling so as to justify compassionate release in
            [the defendant’s] case. The COVID-19 pandemic is
            extraordinary and unprecedented in modern times in
            this nation. It presents a clear and present danger to
            free society for reasons that need no elaboration.
            COVID-19 presents a heightened risk for incarcerated
            defendants like [the defendant] with respiratory
            ailments such as asthma. The Centers for Disease
            Control warns that persons with asthma are at high risk
            of serious illness if they contract the disease. Further,
            the crowded nature of municipal jails such as the
            facility in which [the defendant] is housed present an
            outsize risk that the COVID-19 contagion, once it gains
            entry, will spread. And, realistically, a high-risk inmate
            who contracts the virus while in prison will face
            challenges in caring for himself.

United States v. Hernandez, No. 18 Cr. 834-04 (PAE), 2020 WL 1684062, at *3

(S.D.N.Y. Apr. 2, 2020) (collecting cases).

      The Court further agrees with the parties that granting Villanueva’s

motion would not run afoul of the sentencing factors set forth in § 3553(a).

Villanueva has served a sentence that balances the seriousness of his criminal

conduct with his marked acceptance of responsibility. His prior criminal

history does not disclose a propensity for violence. His remaining term of

incarceration is short. And his medical conditions place him at a higher risk

for developing serious medical complications were he to contract COVID-19.

Villanueva and his counsel have also put forward a plan for his reentry into

society. Specifically, Villanueva’s partner, Emma Lava, has agreed that

                                         9
       Case 1:18-cr-00472-KPF Document 85 Filed 04/08/20 Page 10 of 10



Villanueva may stay with her at her residence at 600 Pelham Road, New

Rochelle, New York. (Def. Br. 7).

      In sum, the Court agrees with the parties that current circumstances

merit compassionate release under 18 U.S.C. § 3582(c)(1)(A)(i). The Court

GRANTS Villanueva’s motion as follows: The Court modifies Villanueva’s

previously-imposed concurrent terms of imprisonment on Counts One, Two,

and Three of Information S3 18 Cr. 472 (KPF) of time served plus three months

to time served. The Court further orders that the BOP release Villanueva

immediately, and without regard to any quarantine provisions that might

otherwise be applied, in order to reside at the New Rochelle address, because a

release plan for Villanueva is already in place. The conditions of supervised

release originally imposed on February 5, 2020, will now go into effect.

      The Court concludes by noting that this Order reflects its agreement with

the parties’ argument that Villanueva would be safer from COVID-19 at home

than at the MCC. It fully expects that Villanueva will maintain, on release, the

same concerns for his health and safety — and the health and safety of the

community he is now reentering — that were expressed so well by his counsel

in the compassionate release motion.

      SO ORDERED.

Dated: April 8, 2019
       New York, New York

                                              KATHERINE POLK FAILLA
                                             United States District Judge




                                       10
